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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
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 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorneys for Defendant
 6   MICHAEL HOLDIMAN
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         NO. 1:15-cr-00071-DAD-BAM
12                       Plaintiff,                    STIPULATION AND ORDER
                                                       TO VACATE STATUS CONFERENCE
13                                                     HEARING; EXHIBITS A and B
           v.
14
     MICHAEL HOLDIMAN,                                 DATE: October 11, 2016
15                                                     TIME: 10:00 a.m.
                         Defendants.                   JUDGE: Hon. Dale A. Drozd
16
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their
19   respective counsel, Kimberly A. Sanchez, Counsel for Plaintiff, and Charles J. Lee, Counsel for
20   Defendant Michael Holdiman, that the status conference in the above-captioned matter now set
21   for October 11, 2016, may be vacated.
22          This status conference was scheduled to address Mr. Holdiman’s status on his Fresno
23   County case, his Santa Clara violation of probation case, and his status regarding the Delancey
24   Street program. On September 14, 2016, Mr. Holdiman was released on his Fresno County case
25   and ordered to the Delancey Street program (Exhibit A). On September 28, 2016, Mr. Holdiman
26   was released on his Santa Clara County violation of probation case to the Delancey Street
27   program (Exhibit B). On September 29, 2016, two investigators from the Federal Defender’s
28   office transported Mr. Holdiman from San Jose to the Delancey Street program in Los Angeles
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 1   where he is now residing. The parties had requested the status hearing to address any difficulties

 2   of client getting to Delancey Street. Since Mr. Holdiman has been released on his state court

 3   matters and is now formally admitted to Delancey Street, the parties ask that the status

 4   conference be vacated.

 5            The court has already set a sentencing date of September 24, 2018, and the parties would

 6   request that date remain.

 7
                                                           Respectfully submitted,
8
                                                           PHILLIP A. TALBERT
 9                                                         Acting United States Attorney
10
     DATED: October 4, 2016                         By: /s/ Kimberly A. Sanchez
11                                                       KIMBERLY A. SANCHEZ
                                                         Assistant United States Attorney
12                                                       Attorney for Plaintiff
13
                                                           HEATHER E. WILLIAMS
14                                                         Federal Defender
15
     DATED: October 4, 2016                         By: /s/ Charles J. Lee
16                                                       CHARLES J. LEE
                                                         Assistant Federal Defender
17                                                       Attorneys for Defendant
                                                         MICHAEL HOLDIMAN
18
19
20                                               ORDER

21            The status conference as to Michael Holidman currently set for October 11, 2016, is

22   hereby vacated.

23
     IT IS SO ORDERED.
24
     Dated:     October 4, 2016
25                                                        UNITED STATES DISTRICT JUDGE
26
27
28


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